52 F.3d 313
    Board of Managers of Glen Mills Schools, Terrill Gillettev.West Chester Area School District, a/k/a West Chester AreaJoint School Authority, Thomas J. Kent, George Zumbano,Harold Zuber, Donald Howland, Thornbury Township,Pennsylvania, Mary Beth Graap, Theodore Russell, George Morley
    NO. 94-1076
    United States Court of Appeals,Third Circuit.
    Mar 01, 1995
    
      1
      Appeal From:  E.D.Pa., No. 92-03407, 838 F.Supp. 1035
    
    
      2
      REVERSED IN PART, AFFIRMED IN PART.
    
    